
PENDLETON, President.
May there not have been a cause dehors the record ?
Marshall. If so, it ought to have been stated.

Cur. adv. vulL

LYONS, Judge.
Delivered the resolution of the Court, that the judgment of the District Court should be affirmed. That Noel should either have moved for a second inquisition, or filed a bill of exceptions to the Court’s opinion, in order that it might have appeared upon what ground the Court proceeded.
ROANE, Judge.
I suspect that the Courts below proceeded upon the ground, that the inquisition was taken by the deputy Sheriff; but that has been decided to be good *432by this Court. * However, as there might have been matter dehors, as misconduct in the Sheriff, jurors, or party, and nothing is stated in the record to exclude that idea, we must presume that something of that kind appeared to the Court.

PER C UR.

Affirm the judgment.

[* Wroe v. Harris, 2 Wash. 126.]

